                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA


HISTORIC WOLF CREEK BOATWORKS,         )
                                       )
                            Plaintiff, )
                                       )
      vs.                              )
                                       )
UNITED STATES OF AMERICA,              )
                                       )                     Case No. 5:20-cv-0014-HRH
                          Defendant.   )
_______________________________________)



                                             ORDER

                                           Motion to Stay1
       Plaintiff moves to stay all proceedings in this case for six week – that is, until

December 7, 2021. Defendants do not oppose a stay of proceedings in this case.

       Plaintiff’s motion for stay is granted. All proceedings in this case are stayed until

December 7, 2021.

       The parties will please confer and, on or before December 14, 2021, file a joint

status report with respect to this case.
       DATED at Anchorage, Alaska, this 27th day of October, 2021.



                                                     /s/ H. Russel Holland
                                                     United States District Judge




       1
        Docket No. 46.

ORDER – Motion to Stay                                                                      -1-
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